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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN UTESCH,                                              CIVIL ACTION
                     Plaintiff,                           NO. 16-5932

              v.

LANNETT COMPANY, INC., ARTHUR P.
BEDROSIAN AND MARTIN P. GALVAN,
              Defendants,

                                         ORDER

       AND NOW, this 7th day of October, 2020, IT IS ORDERED that the Class

Certification Hearing (ECF#122) scheduled for October 13, 2020 at 10:30 a.m. is hereby

CANCELLED.



                                                  BY THE COURT:



                                                  /s/ Wendy Beetlestone
                                                  _______________________________
                                                  WENDY BEETLESTONE, J.
